                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

BRYCE CARRASCO,                                             *

Plaintiff                                                   *

v                                                           *              Civil Action No. SAG-21-532

M&T BANK,                                                   *

Defendant                                                *
                                                        ***
                                                       ORDER

         Plaintiff Bryce Carrasco filed the above-captioned Complaint with the full filing fee and,

therefore, he bears the responsibility for effecting service of process on Defendant. Plaintiff may

effectuate service by presenting summons to the Clerk for signature and seal and then serving a

copy of the summons and Complaint on Defendant. Plaintiff has provided summons to the Clerk.

Pursuant to Fed. R. Civ. P. 4(c)(2), service of a summons and Complaint may be effected by any

person who is not a party and who is at least 18 years of age. Plaintiff is reminded that under Fed.

R. Civ. P. 4(l), the person effecting service of the summons and Complaint must promptly notify

the Court,1 through an affidavit, that he or she has served Defendant.

        Service of process on corporations and associations may be made pursuant to Fed. R. Civ.

P. 4(h). Plaintiff may contact the office of the State Department of Assessments and Taxation at

(410) 767-1330 or visit the website at https://egov.maryland.gov/BusinessExpress/EntitySearch to

obtain the name and service address for the resident agent of a corporate defendant.

Free    public      access     to    the    Maryland       Rules      is   available      through      this    website:



    1
          If Plaintiff does not use a private process server, and instead uses certified mail, restricted delivery, return
receipt requested, to make service, Plaintiff must file with the Clerk the United States Post Office acknowledgment as
proof of service.
https://www.lawlib.state.md.us/researchtools/sourcesmdlaw.html, operated by the Maryland State

Law Library.

       If there is no record that service was effectuated on Defendant, Plaintiff risks dismissal of

this case. Pursuant to Fed. R. Civ. P. 4(m) and Local Rule 103.8.a., if a party demanding

affirmative relief has not effectuated service of process within 90 days of filing the Complaint, the

Court may enter an order asking the party to show cause why the claims should not be dismissed.

If the party fails to show cause within the time as set by the Court, the Complaint shall be dismissed

without prejudice.

       Accordingly, it is this 4th day of March, 2021, by the United States District Court for the

District of Maryland, hereby ORDERED that:

           1. The Clerk TAKE ALL NECESSARY STEPS to issue summons and to return

               summons to Plaintiff. If service copies of the Complaint were provided, the Clerk

               SHALL RETURN them to the Plaintiff; and

           2. The Clerk SHALL SEND a copy of this Order to Plaintiff.



                                               ________/s/____________________
                                               Stephanie A. Gallagher
                                               United States District Judge




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